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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 0:21-cv-60803-RS

 MICHAEL KRUMPAK,

         Plaintiff,
 v.

 CHEWY, INC.,

       Defendant.
 ___________________________/

                               JOINT NOTICE OF SETTLEMENT

         Plaintiff, Michael Krumpak, and Defendant, Chewy, Inc., pursuant to L.R. 16.4, S.D. FL.,
 hereby advise the Court that the parties reached an agreement to settle the instant case. The parties
 request a stay of all deadlines until the Joint Stipulation of Dismissal is filed.

 Dated: March 11, 2021                                        Respectfully Submitted,

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